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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division




GEORGE HENGLE and LULA WILLIAMS,
on behalf of themselves and all
individuals similarly situated,

     Plaintiffs,

V.                                         Civil Action No. 3:18-cv-100

MARK CURRY, et al.,

     Defendants.


                                    ORDER


     For    the    reasons set forth   in the      accompanying      Memorandum

Opinion, it is hereby ORDERED that the MOTION TO TRANSFER TO THE

NEWPORT NEWS DIVISION BY AWL, INC., AMERICAN WEB LOAN, INC. AND

RED STONE, INC. (ECF No. 3) and NATIONWIDE AWL CLASS PLAINTIFFS'

MOTION     FOR    LIMITED   INTERVENTION    (ECF   No.   77)   are    granted.

Accordingly, it is ORDERED that the Clerk shall transfer this

action to the Newport News Division.

     It is further ORDERED that the facts and legal contentions

are adequately presented in the materials before the Court and

oral argument would not aid the decisional process.

     It is so ORDERED.




                                               /s/
                               Robert E. Payne
                               Senior United States District Judge
Richmond, Virginia
Date: June 1^' 2018
